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AO 106 (Rev. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

for the
Southern District of California

  

 

CLERK US DI

In the Matter of the Search of SOUTHERN DISTA

(Briefly describe the property to be searched
or identify the person by name and address)

 

Blue Huawei Cellular Telephone with IMEI No.
866492047347077

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A.

located in the Southern District of California , there is now concealed (identify the
person or describe the property to be seized):

 

See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
wf evidence of a crime;
QO contraband, fruits of crime, or other items illegally possessed;
wm property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 USC 952, 960 & 963 Importation of a controiled substance; conspiracy to commit same

The application is based on these facts:

See atiached affidavit fram HSI Special Agent Bryan Bauerle

of Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: }is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet,

 

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Brian Bauerte - HS/Special Agent

/ Printed namé and title

Sworm to before me and signed in my presence.

Date: yw [ur/l? ath pad

~ Judge’s signature

City and state: San Diego, California Hon. Bernard G. Skomai, U.S. Magistrate Judge

 

 

Printed name and title

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AFFIDAVIT
I, Special Agent Bryan Bauerle, being duly sworn, hereby state as follows:
INTRODUCTION
1. I submit this affidavit in support of an application for a warrant to search the

following electronic device(s):

Blue Huawei phone

IMEI No, 866492047347077

Seized as FP&F No. 2020250600013601-003

(“Target Device’)
as further described in Attachment A, and to seize evidence of crimes, specifically
violations of Title 21, United States Code, Section(s) 952, 960 and 963, as further described
in Attachment B.

2. The requested warrant relates to the investigation and prosecution of Sergio
GONZALEZ-Hernandez (“Defendant”) for importing approximately 4.22 kilograms (9.24
pounds) of Heroin from Mexico into the United States. See U.S. v. Gonzalez-Hernandez,
Case No. 19-MJ-4875 (S.D. Cal.) at ECF No. 1 (Complaint). The Target Device is
currently in the evidence vault located at 880 Front Street, Suite 3200, San Diego, CA
92101,

3. The information contained in this affidavit is based upon my training,
experience, investigation, and consultation with other members of law enforcement.
Because this affidavit is made for the limited purpose of obtaining a search warrant for the
Target Device, it does not contain all the information known by me or other agents
regarding this investigation. All dates and times described are approximate.

BACKGROUND

4. I have been employed as a Special Agent with Homeland Security
Investigations (HSI) since May 2007. I am currently assigned to the HSI Office of the
Deputy Special Agent in Charge, in San Ysidro, California. I am a graduate of the Federal

Law Enforcement Training Center in Glynco, Georgia.

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5. During my tenure with HSI, I have participated in the investigation of various
drug trafficking organizations involved in the importation and distribution of controlled
substances into and through the Southern District of California.

6. Through my training, experience, and conversations with other members of
law enforcement, I have gained a working knowledge of the operational habits of narcotics
traffickers, in particular those who attempt to import narcotics into the United States from
Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
work in concert with other individuals and to do so by utilizing cellular telephones. Because
they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
out various tasks related to their trafficking activities, including, e.g., remotely monitoring
the progress of their contraband while it is in transit, providing instructions to drug couriers,
warning accomplices about law enforcement activity, and communicating with co-
conspirators who are transporting narcotics and/or proceeds from narcotics sales.

7. Based upon my training, experience, and consultations with law enforcement
officers experienced in narcotics trafficking investigations, and all the facts and opinions
set forth in this affidavit, I know that cellular telephones (including their Subscriber
Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
for example, phone logs and contacts, voice and text communications, and data, such as
emails, text messages, chats and chat logs from various third-party applications,
photographs, audio files, videos, and location data. In particular, in my experience and
consultation with law enforcement officers experienced in narcotics trafficking
investigations, | am aware that individuals engaged in drug trafficking commonly store
photos and videos on their cell phones that reflect or show co-conspirators and associates
engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
and assets from drug trafficking, and communications to and from recruiters and

organizers.

 

 

 

 
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8. This information can be stored within disks, memory cards, deleted data,
remnant data, slack space, and temporary or permanent files contained on or in the cellular
telephone. Specifically, searches of cellular telephones may yield evidence:

a. tending to indicate efforts to import heroin, or some other federally
controlled substance, from Mexico into the United States;

b. tending to identify accounts, facilities, storage devices, and/or services—
such as email addresses, IP addresses, and phone numbers—used to
facilitate the importation of heroin, or some other federally controlled
substance, from Mexico into the United States;

c. tending to identify co-conspirators, criminal associates, or others involved
in importation of heroin, or some other federally controlled substance,
from Mexico into the United States;

d. tending to identify travel to or presence at locations involved in the
importation of heroin, or some other federally controlled substance, from
Mexico into the United States, such as stash houses, load houses, or
delivery points;

e, tending to identify the user of, or persons with control over or access to,
the Target Device; and/or |

f. tending to place in context, identify the creator or recipient of, or establish
the time of creation or receipt of communications, records, or data involved
in the activities described above.

FACTS SUPPORTING PROBABLE CAUSE

9, On November 2, 2019, at approximately 11:44 a.m., defendant Sergio
GONZALEZ-Hemandez (“Defendant”) applied for permission to enter the United States
at the Otay Mesa Port of Entry. Defendant was the driver and sole occupant of a Nissan
Frontier. Defendant was referred for secondary inspection, and Customs and Border
Protection Officers discovered 2 packages concealed within the transmission of
Defendant’s vehicle. The packages weighed approximately 4.22 kg (9.24 lbs:), and field-
tested positive as heroin. Defendant was subsequently arrested, and the Target Device was

seized from Defendant’s property.

 

 

 
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10. Later, agents read Defendant his Miranda rights, and he agreed to speak to
agents without an attorney present. Defendant denied knowledge of the drugs in his vehicle.
Defendant stated he borrowed the vehicle from a friend in order to cross into the United
States to purchase a Halloween costume. Defendant said that he had borrowed the vehicle
on previous occasions and had also been referred to secondary in the vehicle. Defendant
stated the transmission had been inspected on a previous occasion where .he was sent to
secondary as well. Defendant claimed that he had not told his friend from whom he
borrowed the vehicle where he was going or how long he would be in the United States.
During the interview, Defendant was shown the Target Device and identified the Target
Device as belonging to him. |

ll. In light of the above facts, Defendant’s statements, and my own experience
and training, there is probable cause to believe that Defendant was using the Target Device
to communicate with others to further the importation of illicit narcotics into the United
States.

12. In my training and experience, narcotics traffickers may be involved in the
planning and coordination of a drug smuggling event in the days and weeks prior to an
event. Co-conspirators are also often unaware of a defendant’s arrest and will continue to
attempt to communicate with a defendant after their arrest to determine the whereabouts of
the narcotics. Based on my training and experience, it is also not unusual for individuals,
such as Defendant, to attempt to minimize the amount of time they were involved in their
smuggling activities, and for the individuals to be involved for weeks and months longer
than they claim. Accordingly, I request permission to search the Target Device for data
from October 2, 2019, up to and including November 2, 2019.

METHODOLOGY

13. It is not possible to determine, merely by knowing the cellular telephone’s
make, model and serial number, the nature and types of services to which the device is
subscribed and the nature of the data stored on the device. Cellular devices today can be

simple cellular telephones and text message devices, can include cameras, can serve as

 

 

 
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personal digital assistants and have functions such as calendars and full address books and
can be mini-computers allowing for electronic mail services, web services and rudimentary
word processing. An increasing number of cellular service providers now allow for their
subscribers to access their device over the internet and remotely destroy all of the data
contained on the device. For that reason, the device may only be powered in a secure
environment or, if possible, started in “flight mode” which disables access to the network.
Unlike typical computers, many cellular telephones do not have hard drives or hard drive
equivalents and store information in volatile memory within the device or in memory cards
inserted into the device. Current technology provides some solutions for acquiring some of
the data stored in some cellular telephone models using forensic hardware and software.
Even if some of the stored information on the device may be acquired forensically, not all
of the data subject to seizure may be so acquired. For devices that are not subject to forensic
data acquisition or that have potentially relevant data stored that is not subject to such
acquisition, the examiner must inspect the device manually and record the process and the
results using digital photography. This process is time and labor intensive and may take
weeks or longer.

14. Following the issuance of this warrant, I will collect the subject cellular
telephone and subject it to analysis. All forensic analysis of the data contained within the
telephone and its memory cards will employ search protocols directed exclusively to the
identification and extraction of data within the scope of this warrant.

15. Based on the foregoing, identifying and extracting data subject to seizure
pursuant to this warrant may require a range of data analysis techniques, including manual
review, and, consequently, may take weeks or months. The personnel conducting the
identification and extraction of data will complete the analysis within 90 days, absent
further application to this court.

PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
16. Law enforcement has not previously attempted to obtain the evidence sought

by this warrant of the Target Device.

 

 
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CONCLUSION

17. Based on the facts and information set forth above, there is probable cause to
believe that a search of the Target Device will yield evidence of Defendant’s violations of
Title 21, United States Code, Sections 952, 960 and 963.

18. Because the Target Device was seized at the time of Defendant’s arrest and
has been securely stored since that time, there is probable cause to believe that such
evidence continues to exist on the Target Device. As stated above, I believe that the
appropriate date range for this search is from October 2, 2019, up to and including
November 2, 2019.

19. Accordingly, I request that the Court issue a warrant authorizing law
enforcement to search the item described in Attachment A and seize the items listed in

Attachment B using the above-described methodology.

I swear the foregoing is true and correct to the best of my knowledge and belief.

 

 

Homeland Security J4ivestigations

Subscribed and sworn to before me this 2% day of November, 2019.

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Hon. Bernard G. Skomal
United States Magistrate Judge

 

 
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ATTACHMENT A
PROPERTY TO BE SEARCHED
The following property is to be searched:

Blue Huawei phone

IMEI No. 866492047347077

Seized as FP&F No. 2020250600013601-003
(the “Target Device”)

The Target Device is currently in the possession of Homeland Security Investigations,
880 Front Street, Suite 3200, San Diego, CA 92101. |

 
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ATTACHMENT B

ITEMS TO BE SEIZED

Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of 30 DAYS:

a,

tending to indicate efforts to import heroin, or some other federally
controlled substance, from Mexico into the United States;

tending to identify accounts, facilities, storage devices, and/or services—
such as email addresses, JP addresses, and phone numbers—used to
facilitate the importation of heroin, or some other tederally controlled
substance, from Mexico into the United States;

- tending to identify co-conspirators, criminal associates, or others involved

in importation of heroin, or some other federally controlled substance,
from Mexico into the United States;

tending to identify travel to or presence at locations involved in the
importation of heroin, or some other federally controlled substance, from
Mexico into the United States, such as stash houses, load houses, or
delivery points;

tending to identify the user of, or persons with control over or access to,
the Target Device; and/or

tending to place in context, identify the creator or recipient of, or establish
the time of creation or receipt of communications, records, or data involved
in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960 and

963.

 
